                        Case: 24-1147    Document: 71      Filed: 03/20/2025       Page: 1

117-1st Floor Courtroom, 9:00 A.M.                                             Thursday, March 20, 2025
                                     McKeague, Kethledge, Readler


24-1147    April Malick, et al. v. Croswell-Lexington District, et al.

 April Malick, et al.                                                        ret   Sarah Gordon Thomas
                                                                                     3 Minutes Rebuttal
          Plaintiffs - Appellants

                                V.

 Croswell-Lexington District Schools, et al.                                 ret   Kenneth Bennett Chapie

          Defendants - Appellees




  Plaintiff parents appeal the district court's summary judgment for defendants, the school district and
  school administrators, in this civil rights suit under Title VI alleging deliberate indifference to racist
  bullying and harassment of plaintiffs' daughter by other students and school employees.
 (15 Minutes Per Side)
